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1700 G Street NW, Washington, D.C. 20552




May 17, 2024

VIA CM/ECF

Lyle W. Cayce, Clerk of Court
United States Court of Appeals for the Fifth Circuit
Office of the Clerk
F. Edward Herbert Building
600 S. Maestri Place
New Orleans, LA 70130

Re: Chamber of Commerce of the United States, et al. v. Consumer Financial
    Protection Bureau, No. 24-10248
    Letter Pursuant to Fed. R. App. P. 28(j)

Dear Mr. Cayce:

       We write in response to Plaintiffs’ notice of the Supreme Court’s decision in
CFPB v. Community Financial Services Ass’n of America, Ltd. (CFSA), No. 22-
448, 2024 WL 2193873, at *2 (May 16, 2024). See ECF 117-1. Contrary to
Plaintiffs’ claims, the decision in CFSA, and its implications for the preliminary
injunction here, underscore why the Court should dismiss this appeal entirely,
rather than continue to micromanage the district court’s supervision of this case.

       In April, this Court entered a limited remand for the district court to rule on
Plaintiffs’ preliminary injunction motion by May 10. See ECF 105. The district
court acted on that instruction and stayed the challenged Bureau rule based on
Plaintiffs’ then-likelihood of success under this Court’s opinion in CFSA v. CFPB,
51 F.4th 616 (5th Cir. 2022). See Dist. Ct. Dkt. 82. As Defendants explained in
their motion to dismiss, ECF 116, the district court’s preliminary injunction




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mooted the current appeal, and allowing this empty appeal to remain pending
would create jurisdictional uncertainty and complicate the district court’s ability to
manage the case going forward.

       As even Plaintiffs concede, that jurisdictional confusion interferes with the
district court’s ability to respond to the Supreme Court’s decision in CFSA. In
CFSA, the Supreme Court reversed the Fifth Circuit precedent the district court
relied on, undermining the current basis for the preliminary injunction. Ordinarily,
the district court could revisit the injunction and determine whether it should be
vacated or maintained on alternative grounds. But, given the pendency of this
appeal, it is unclear whether the district court can continue to manage its case as
needed.

       Plaintiffs suggest that, to solve this problem, the Court should hold onto
jurisdiction but “clarify” its limited remand to allow the district court to rule again
on the preliminary injunction. That approach, however, would inappropriately
divest the district court of its ordinary control over this case—treating it as, in
effect, a special master advising this Court of what should happen next, rather than
the judicial body tasked with managing this litigation and deciding the need for
preliminary relief in the first instance.

                                              Respectfully submitted,

                                              /s/ Stephanie B. Garlock
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cc:   Counsel of Record (via CM/ECF)




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